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                                                                                  EXHIBIT

David Lazarus
                                                                                        3
From:                         Keen, Justin (USAFLN) <Justin.Keen@usdoj.gov>
Sent:                         Friday, November 4, 2022 3:01 PM
To:                           David Lazarus; Nicole Waid
Cc:                           Brown, Raymond N.; Littwin, Kathleen R.; Byron, David (USAFLN); Milligan, Gary
                              (USAFLN); Bird, Karen (USAFLN) [Contractor]; Kerwin, Katherine (USAFLN)
Subject:                      RE: SBA Liens
Attachments:                  202002512890 - AirSign AirShips Title.pdf; 202002512815 - AirSign Airships America.pdf



Good afternoon, Dave (and Nicole),

As we just discussed, this afternoon I spoke with Kathleen Littwin, one of the attorney advisors for
the SBA’s EIDL department (she is CC’ed on this email). The simplest solution to Mr. Walsh’s
situation regarding the two attached liens (which I’ve been advised are for $73k and $150k) is as
follows:

   1) Continue with the sale of the airship,
   2) Ensure that escrow agent sends the SBA a check for $73k and $150k, with a memo noting
      the loan numbers (the end of box 4 of each lien contains the loan number), and
   3) Ensure that the escrow agent wires the rest of the sale proceeds to the USMS/DOJ per our
      previous correspondence.

The POC at SBA’s EIDL department to resolve this will be Ray Brown, EIDL Risk Management
Supervisor. His email address is Raymond.Brown@sba.gov (he is CC’ed on this email). I defer to
Mr. Brown as to the specific instructions that the escrow agent must follow to ensure prompt
disposition of these two SBA liens. Ms. Littwin advised that the SBA will not release the liens
before payment is received, but it seems that the above steps is pretty routine in their world.

Once the balance of the sale proceeds are sent to USMS/DOJ, please send me documentation of
same so I can be sure that the Court is made aware of Mr. Walsh’s partial prepayment of
restitution.

Please let me know if you have any questions or issues on this.

Justin
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From: David Lazarus <dlazarus@verrill-law.com>
Sent: Friday, October 21, 2022 10:32 AM
To: Keen, Justin (USAFLN) <JKeen2@usa.doj.gov>
Cc: Nicole Waid <nicole.waid@FisherBroyles.com>
Subject: [EXTERNAL] FW: SBA Liens

Justin –

The SBA recorded UCC Liens against Patrick’s businesses and assets. I think this was routinely done for loans in excess of
certain amounts. The hiccup is that the airship sale we disclosed to the government late last week appears to be held
up by the SBA Lien. Would you be able to let your SBA contact for this case know about the sale and that it is going to
fund restitution back to the SBA? I can contact them myself but experience tells me that they won’t listen to me. For the
sale to happen, Mr. Walsh needs a limited release of the two attached liens from the SBA.

Happy to hop on a call today if that is helpful. Thanks.

Dave



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